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 1                                                                  JUDGE WALTER S. SMITH, JR.
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 6
                                  UNITED STATES DISTRICT COURT
 7                                 WESTERN DISTRICT OF TEXAS
                                         WACO DIVISION
 8
     BRANDON BERNARD,                                )    Civil Action No.: W-04-CV-164
 9                                                   )    (Formerly Crim. No.: W-99-CR-070(2))
                     Defendant-Movant,               )
10                                                   )    MEMORANDUM OF LAW IN
                     vs.                             )    SUPPORT OF MOTION TO ALTER
11                                                   )    OR AMEND JUDGMENT
     UNITED STATES OF AMERICA,                       )
12                                                   )
                     Plaintiff-Respondent.           )
13                                                   )
14

15                                              I. Introduction
16           Brandon Bernard moves the Court to alter or amend its judgment that denied his 28
17   U.S.C. § 2255 motion for relief from sentence without a hearing. [Dkt. nos. 416, 424, 449].
18                                           II. Rule 59 Standard
19           Fed. R. Civ. P. 59(e) was adopted “to make clear that the district court possesses the
20   power to rectify its own mistakes in the period immediately following the entry of
21   judgment.” White v. New Hampshire Dep't of Employment Sec., 455 U.S. 445, 450 (1982)
22   (internal quotations omitted). The district court’s discretion to grant such a motion is
23   broad; as Rule 59(e) sets forth no particular grounds for relief, the appropriate relief turns
24   on the circumstances of the particular case. Lavespere v. Niagara Mach. & Tool Works,
25   910 F.2d 167, 174 (5th Cir. 1990) (overruled on other grounds, Little v. Liquid Air Corp.
26   37 F.3d 1069 (5th Cir. 1994). Denial of a hearing is a proper basis for reconsideration.
                                                                                     ROBERT C. OWEN
                                                                                      SCHOOL OF LAW
     MEMORANDUM OF LAW IN SUPPORT OF                                    THE UNIV. OF TEXAS AT AUSTIN
     MOTION TO ALTER OR AMEND JUDGMENT               –1                     727 EAST DEAN KEETON ST.
                                                                                  AUSTIN, TX 78705-3224
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 1   See, e.g., Browder v. Director, Dept. of Corrections of Illinois, 434 U.S. 257, 266 & n.10
 2   (1978).
 3            III. The Court Erroneously Denied Mr. Bernard’s § 2255 Motion.
 4            Under 28 U.S.C. § 2255, a petitioner is entitled to a hearing unless the record
 5   “conclusively shows” that all the factual predicates asserted in the motion are false (or
 6   cannot lead to relief). Conclusive negation is a high bar, and the Government cannot clear
 7   it in this case.
 8       A.      Mr. Bernard’s motion establishes a strong case that he was denied effective
                 assistance of counsel at both phases of trial. The Government failed to
 9               rebut this case. The Court should therefore grant relief from Mr.
                 Bernard’s conviction and death sentence. At a minimum, the Court must
10               allow discovery and grant an evidentiary hearing, so that the underlying
                 disputes of fact can be resolved and the claims reliably adjudicated.
11
              Brandon Bernard’s amended § 2255 motion alleged numerous instances of
12
     ineffective assistance of counsel (“IAC”). These errors and omissions infected the entire
13
     proceeding, beginning with counsels’ failure to prepare for negotiation with the
14
     Government, continuing with a failure to investigate, prepare and perform during the guilt-
15
     innocence phase of the trial, with similar failures repeated in the sentencing phase.
16
     Amended § 2255 Motion at 18-132 [Dkt. no. 416].
17
              The specific allegations of deficient performance were supported by an 82-page
18
     sworn declaration from David A. Ruhnke, an extensively experienced federal capital
19
     defense litigator. Mr. Ruhnke explained in detail how the performance of Mr. Bernard’s
20
     trial counsel fell below prevailing national standards of practice. See Amended § 2255
21
     Motion at Exh. 12. Mr. Bernard’s allegations, and the sworn statements in Mr. Ruhnke’s
22
     declaration, are corroborated by the contemporaneous training materials attached to this
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     motion as Exhibits A1-A7.
24

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                                                                                     ROBERT C. OWEN
                                                                                      SCHOOL OF LAW
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 1           The Government has submitted no evidence whatsoever to support its contention
 2   that any of trial counsel’s failures, let alone all of them, reflected reasoned tactical
 3   judgments or legitimate trial strategies. Even had it done so, an evidentiary hearing would
 4   still be required, since “contested fact issues in § 2255 cases cannot be resolved on the
 5   basis of affidavits.” Friedman v. United States, 588 F.2d 1010, 1015 (5th Cir. 1979). If
 6   such disputes cannot be resolved on the basis of affidavits, surely they cannot be resolved –
 7   as the Court has effectively done here – by mere assumption.
 8           Thus, the Court’s rejection of Mr. Bernard’s IAC claims rests essentially on its
 9   characterization of the evidence as so overwhelmingly adverse to Mr. Bernard that a
10   conviction and a death sentence were a foregone conclusion. See, e.g., Order at 17, 59
11   [Dkt. No. 449]. But the evidence was not overwhelming, as reflected in the jury’s decision
12   to recommend a life sentence for Mr. Bernard on two of the three death-eligible counts, and
13   its struggle to decide whether to impose death on the final death-eligible count – after it
14   had condemned Mr. Vialva to death in short order on all three death-eligible counts he
15   faced. Calling the evidence against Mr. Bernard at both phases “overwhelming” merely
16   confirms how little trial counsel did to rebut the Government’s case – and illustrates this
17   Court’s failure, in its order denying relief [Dkt. No. 449], to confront the evidence
18   submitted by Mr. Bernard in this proceeding.
19           To take just one example – the Court’s conclusion that trial counsel could not
20   possibly have done anything to make any difference in the outcome – is unfounded with
21   respect to counsels’ failure to challenge the Government’s case for Mr. Bernard’s future
22   dangerousness. First, this Court’s conclusion ignores the Supreme Court’s recent
23   reiteration that trial counsel in a capital case must seek available Skipper evidence and that
24   such evidence can be critically important to the jury’s sentencing decision. See Skipper v.
25   South Carolina, 476 U.S. 1 (1986) (evidence of capital defendant’s successful adjustment
26   to incarceration is mitigating); see also discussion of Sears v. Upton, 130 S. Ct. 3259
                                                                                      ROBERT C. OWEN
                                                                                       SCHOOL OF LAW
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 1   (2010), and Porter v. McCollum, 558 U.S. 30, 130 S.Ct. 447 (2009), infra; see also, e.g.,
 2   John H. Blume et al., Future Dangerousness in Capital Cases: Always “At Issue,” 86
 3   CORNELL L. REV. 397, 404 (2001) (study finding that the defendant’s perceived “future
 4   dangerousness to society” was the second-most important factor in capital jurors’ choice
 5   between life and death). As Mr. Bernard has pointed out, see Amended § 2255 Motion at
 6   pp. 108-112 [Dkt. No. 416], his trial counsel failed to discover and present readily
 7   available Skipper evidence that would have been vital in challenging the Government’s
 8   claim that Mr. Bernard would be a violent, gang-affiliated prisoner if his life were spared.
 9           In addition, Mr. Bernard’s counsel performed deficiently in not challenging the
10   methodology employed by the Government’s “expert” witness Dr. Coons for predicting
11   dangerousness. If counsel had done so, there is good reason to believe Dr. Coons’
12   testimony would have been excluded; even if it had been admitted, it could have been
13   comprehensively discredited. The former conclusion follows from, e.g., Coble v. State,
14   330 S.W.3d 253 (Tex. Crim. App. 2010) (holding that Dr. Coons’ “expert” testimony
15   predicting a capital defendant’s future dangerousness was inadmissible under Tex. R. Evid.
16   702 because it was not sufficiently reliable). In Coble, the Court of Criminal Appeals
17   found that Dr. Coons, while purporting to apply psychiatric principles in assessing future
18   dangerousness, actually employs a wholly subjective methodology that he created for his
19   own use. Coble, 330 S.W.3d at 277. It further found that Dr. Coons cited no books,
20   articles, journals, or other information to support his methodology or his opinion. Id. It
21   criticized him for not even attempting to discover whether the facts treated as significant by
22   his ad hoc “methodology” have been empirically validated by expert studies or “verified as
23   accurate over time,” nor even checking to see whether his own prior predictions of future
24   dangerousness concerning particular defendants had, in fact, turned out to be accurate. Id.
25   at 278-79. Reasonably effective counsel would have mounted a vigorous challenge to
26   Dr. Coons; had Mr. Bernard’s counsel done so, contrary to the view expressed in this
                                                                                   ROBERT C. OWEN
                                                                                    SCHOOL OF LAW
     MEMORANDUM OF LAW IN SUPPORT OF                                  THE UNIV. OF TEXAS AT AUSTIN
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 1   Court’s order, they would have had a good chance at changing the outcome of the penalty
 2   phase.1
 3           The same attitude – that “nothing could be done” to avoid a conviction and a death
 4   sentence for Mr. Bernard – also pervades this Court’s treatment of Mr. Bernard’s claim that
 5   his trial counsel performed deficiently in not obtaining appropriate experts to help them
 6   present their defense and challenge the Government’s case. See, e.g., Amended § 2255
 7   Motion at 60-61, 64-66 [Dkt. no. 416]. The Court’s order states only that “with limited
 8   funds available for experts nothing would have been accomplished except a decrease in
 9   funds if trial counsel had attempted to retain experts to contest the experts presented by the
10   Government.” Order at 41 [Dkt. No. 449]. First, no evidence supports the Court’s
11   assumption about what lay behind trial counsel’s failure to pursue their own experts. Even
12   if the Court is correct, any such belief by trial counsel was unreasonable and demonstrably
13   untrue, as shown by the attached declarations of arson expert Gerald Hurst, Ph.D. and
14   pathologist Stephen Pustilnik, M.D. See Exhibits B and C. In sum, unless this Court
15   reopens proceedings, authorizes discovery, and holds an evidentiary hearing, the Fifth
16   Circuit will be unable to resolve Mr. Bernard’s many valid IAC claims, because the record
17   is entirely silent as to why trial counsel failed on so many fronts. See United States v.
18   Hayes, 532 F.3d 349, 355 (5th Cir. 2008) (absent a hearing, the Court of Appeals has “no
19   way to analyze the potential strategy behind [counsel’s challenged] decision,” and is left to
20   “engag[e] in speculation, preventing adequate review of the district court’s judgment as to
21   whether defense counsel performed unreasonably under Strickland.”)
22
            1
            Although Bernard’s counsel may have initially perceived that the “battle of experts as to
23 future dangerousness” was only between Vialva and the Government, see Order at 50, nothing
   suggests that the jurors shared this understanding, and counsel did nothing to ensure they did. On
24 the contrary, given Coons’ broad generalizations, that fact that Mr. Bernard’s counsel did not ask
   for a limiting instruction, and the fact that the Government’s closing argument urged the jury to
25 apply Coons’ testimony to Bernard, the only reasonable conclusion is that the jury did apply this
   damaging – but scientifically unfounded – evidence against Mr. Bernard. See Amended § 2255
26 Motion at 124-28 [Dkt. no. 416].
                                                                                    ROBERT C. OWEN
                                                                                     SCHOOL OF LAW
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 1           Two Supreme Court decisions handed down after Mr. Bernard filed his amended
 2   § 2255 motion, neither of which is mentioned in this Court’s order [Dkt. no. 449], support
 3   Mr. Bernard’s IAC claims and confirm the need for an evidentiary hearing.
 4           Sears v. Upton, 130 S. Ct. 3259 (2010), presented a scenario remarkably similar to
 5   Mr. Bernard’s case – a mitigation investigation driven wholly by the defendant’s mother,
 6   who was solely responsible for identifying potential witnesses. Trial counsel then built
 7   their mitigation presentation around those witnesses, focusing on Mr. Sears’ upbringing in
 8   a good family that was shocked by his crime. Id. at 3261-64. As in Mr. Bernard’s case,
 9   this foreshortened approach unsurprisingly missed a wealth of critically important
10   mitigation evidence, including evidence of cognitive impairment and a family background
11   far more troubled than the jury had been led to believe. Id. at 3263-64. The Supreme
12   Court strongly endorsed the state court’s conclusion that such an investigation was
13   professionally deficient. See id. at 3264 (“[T]he cursory nature of counsel’s investigation
14   into mitigation evidence — ‘limited to one day or less, talking to witnesses selected by
15   [Sears’] mother’ was ‘on its face. . .constitutionally inadequate’”). But it was quick to
16   condemn the state court’s view that, because counsel had “put forth a reasonable theory
17   with supporting evidence,” no prejudice resulted. Id.
18           The Supreme Court pointed out that the apparent reasonableness of a mitigation
19   theory in the abstract cannot excuse an abbreviated investigation. The Court criticized the
20   state court for placing “undue reliance on the assumed reasonableness of counsel’s
21   mitigation theory” because doing so curtails the more probing and fact-specific prejudice
22   inquiry that the law requires. Id. at 3265-66. The Court emphasized that to assess the
23   probability of a different outcome under Strickland, a reviewing court must consider the
24   totality of the available mitigating evidence – both the evidence adduced at trial, and that
25   adduced afterward – and reweigh it against the evidence in aggravation. Id. at 3267. The
26   Court also made clear that a reviewing court should not reflexively deny an IAC claim for
                                                                                    ROBERT C. OWEN
                                                                                     SCHOOL OF LAW
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 1   lack of prejudice simply because an appropriately wide-ranging pretrial investigation could
 2   have uncovered some evidence that could be construed as “adverse.” Id. at 3264.
 3           In this case, the Court failed to conduct the careful and intensive weighing required
 4   by Sears. Instead, without even affording Mr. Bernard an evidentiary hearing, it essentially
 5   ruled that no conceivable amount of mitigation could ever have swayed a single juror to
 6   believe that life imprisonment was the appropriate sentence for Mr. Bernard on the sole
 7   count for which the jury recommended death. To reach this conclusion, the Court
 8   characterized all challenged errors and omissions as reasonable strategic decisions. See,
 9   e.g., Order at 28 n. 5, 41-42, p. 46, 50, 52, 54 [Dkt. No. 449]. But no evidence before the
10   Court suggests that these actions were the product of reasoned decisions. On the contrary,
11   extensive evidence – like Mr. Ruhnke’s detailed declaration, the training materials attached
12   hereto, and the records showing how little time trial counsel spent preparing Mr. Bernard’s
13   case – make clear that counsels’ actions were, as in Sears, the products of forced choices
14   that resulted from a constitutionally inadequate investigation. See, e.g., Amended § 2255
15   Motion at pp. 60-62 and Exhibits 8 & 12 [Dkt. No. 416], Exhibits A1-A7 of this motion.
16           Porter v. McCollum, 558 U.S. 30, 130 S.Ct. 447 (2009), further illustrates how far
17   this Court’s order denying relief on Mr. Bernard’s IAC claims departs from settled
18   Supreme Court jurisprudence. Porter is especially relevant here, since it analyzed
19   counsel’s obligation to develop and present mitigation evidence in the context of a trial that
20   took place more than a decade before Mr. Bernard’s. It follows ineluctably from Porter
21   that the same standards, at a bare minimum, applied to trial counsel here.
22           In Porter, the Supreme Court accepted as an unassailable truth that counsel “had an
23   ‘obligation to conduct a thorough investigation of the defendant’s background.’” Porter,
24   130 S.Ct. at 452 (quoting Williams v. Taylor, 529 U.S. 362, 396, (2000)) (emphasis
25   supplied). But as in Mr. Bernard’s case, Mr. Porter’s trial counsel had “ignored pertinent
26   avenues for investigation” by not even taking the first steps of requesting records or
                                                                                    ROBERT C. OWEN
                                                                                     SCHOOL OF LAW
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 1   interviewing certain key witnesses. Id. at 453. As a result, the jury that sentenced Porter to
 2   death never heard mitigating evidence about his military service, his mental health, or his
 3   family background. Id. at 453. On federal habeas review, the district court found that trial
 4   counsel had performed deficiently in conducting “little if any investigation,” id. at 452, and
 5   granted relief. The Eleventh Circuit disagreed, ruling that the state court reasonably
 6   applied Strickland in finding “no prejudice” after discounting each category of mitigation
 7   evidence.
 8           The Supreme Court summarily reversed. It held that it was not just error, but
 9   “unreasonable” for a reviewing court to “discount to irrelevance the evidence of Porter’s
10   abusive childhood, especially when that kind of history may have particular salience for a
11   jury evaluating Porter’s behavior. . .” Id. at 455. Where so much important mitigating
12   evidence had not been presented at trial, the Supreme Court stated, it could not “now be
13   ignored.” Id. at 454 (citing state court judges’ dissenting opinion). The Court ruled that
14   Porter was not required to show “‘that counsel’s performance more likely than not altered
15   the outcome’ of his penalty proceeding,” but only to establish “a probability sufficient to
16   undermine confidence in [that] outcome.” Id. at 455-56 (quoting Strickland, 466 U.S. at
17   693-94) (internal quotation marks omitted).
18           This Court, like the lower court in Porter, erred by placing too great a burden on
19   Mr. Bernard to prove prejudice. The proper question is whether – but for counsel’s
20   deficient performance – there exists “a probability” of a different outcome. See Porter,
21   130 S.Ct. at 453. Mr. Bernard need not show that the jury “more likely than not” would
22   have spared him if his trial counsel had performed in a manner consistent with prevailing
23   standards of practice. See id. This Court’s analysis cannot be reconciled with this settled
24   legal principle. See, e.g., Order at 45 (criticizing both Mr. Bernard and Mr. Vialva for not
25   “identify[ing] how more time would equate to a different outcome in this case”) [Dkt. No.
26   449].
                                                                                   ROBERT C. OWEN
                                                                                    SCHOOL OF LAW
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 1           This Court also failed to follow Porter by unreasonably discounting the mental
 2   health evidence Mr. Bernard submitted in this proceeding, which reasonably effective trial
 3   counsel would have developed and presented. Id. at 54 (deriding Mr. Bernard’s
 4   “‘dysfunction’” as “apparently so mild that it is possible it would have made no difference
 5   in the jury’s decision”) [Dkt. No. 449]. Even if it is “possible” that such evidence,
 6   considered in isolation, could have made no difference – which Mr. Bernard disputes – a
 7   mere possibility of the same outcome is not a basis for denying relief. And the Court’s
 8   claim that presenting such evidence of neuropsychological impairments “could have
 9   lessened the impact of the positive approach counsel adopted by taking away from the
10   impact of the attempt to ‘humanize’ Bernard for the jury,” Order at 54, is difficult to
11   understand. Suffering from an impairment does not render someone inhuman; on the
12   contrary, highlighting such frailties can serve to emphasize one’s humanity. See Woodson
13   v. North Carolina, 428 U.S. 280, 304 (1976) (Eighth Amendment mandates that sentencing
14   jurors be allowed to consider, in determining the appropriate punishment, “compassionate
15   or mitigating factors stemming from the diverse frailties of humankind,” to ensure that
16   each capital defendant is treated as a “uniquely individual human being[]”). The Court’s
17   comment, contrary to Sears, places “undue reliance on the assumed reasonableness of
18   counsel’s [presumed] mitigation theory.” See Sears, 130 S. Ct. at 3265. Even overlooking
19   that problem, this Court erred in discounting this mental health evidence, because it could
20   have helped explain the decisions that Mr. Bernard made in the course of the crime. See id.
21   at 3264 (“This evidence might not have made Sears any more likable to the jury, but it
22   might have helped the jury understand Sears, and his horrendous acts – especially in light
23   of his purportedly stable upbringing”).
24           For all the foregoing reasons, this Court’s conclusion that no verdict other than a
25   death sentence was possible for Mr. Bernard, even if his trial counsel had performed
26   competently, is seriously mistaken.
                                                                                    ROBERT C. OWEN
                                                                                     SCHOOL OF LAW
     MEMORANDUM OF LAW IN SUPPORT OF                                   THE UNIV. OF TEXAS AT AUSTIN
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 1       B. Mr. Bernard’s Brady claims are not procedurally defaulted.
 2           Without explanation, the Court asserts that Mr. Bernard’s Brady allegations “could
 3   have been raised on direct appeal.” Order at 22. In the alternative, the Court states that
 4   “Defendants have failed to establish that any material was suppressed by the Government,
 5   or that the failure to provide any information constitutes a Brady violation.” Id. This
 6   ruling is incorrect for two reasons.
 7           First, the Supreme Court has recognized “an exception to the procedural default rule
 8   for claims that could not be presented [on direct appeal] without further factual
 9   development.” Bousley v. United States, 523 U.S. 614, 621 (1998). Mr. Bernard’s Brady
10   claim could not have been presented on appeal. Evidence of the Brady violation was not
11   part of the record on appeal, and Mr. Bernard did not discover, nor could he reasonably
12   have discovered, the challenged violations until after his appeal concluded. Nor can Mr.
13   Bernard develop the record further now, without court intervention, since the Government
14   unaccountably has closed the “open file” it purports to have made available to trial counsel.
15   The Court should authorize discovery to rectify this problem.
16           Second, “[w]hen a habeas petitioner brings a Brady claim, the ‘cause and prejudice’
17   requirements of the procedural default doctrine parallel the last two elements of the alleged
18   constitutional violation itself. That is, a petitioner shows ‘cause’ when the reason for his
19   failure to develop facts . . . was the [Government’s] suppression of the relevant evidence,
20   while ‘prejudice’ exists when the suppressed evidence is ‘material’ for Brady purposes.”
21   Rocha v. Thaler, 619 F.3d 387, 394 (5th Cir. 2010), denial of rehearing, 626 F.3d 815
22   (citing Strickler v. Greene, 527 U.S. 263, 281-82 (1999)) (footnote omitted). The
23   Government has suppressed, and continues to suppress, the facts alleged in Mr. Bernard’s
24   Brady claims. For all these reasons, the Court should revisit and reverse its conclusion that
25   Mr. Bernard somehow “procedurally defaulted” claims that are based on evidence he did
26   not have and could not have obtained because the Government was hiding it.
                                                                                    ROBERT C. OWEN
                                                                                     SCHOOL OF LAW
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 1        C.      The Court erred in denying an evidentiary hearing to determine whether
                  the presiding juror was biased against Mr. Bernard, as evidenced by false
 2                statements in his juror questionnaire that improved his chances of getting
                  on the jury.
 3
          This Court relied on the standard for juror bias set forth in United States v. Bishop, 264
 4
     F.3d 535, 554 (5th Cir. 2001). Order at 26 [Dkt. No. 449]. The Bishop court, however,
 5
     was discussing what the defendant had to show, in the evidentiary hearing that the district
 6
     court had conducted, to obtain relief. Id. at 545. By contrast, this Court has required that
 7
     Mr. Bernard meet this standard without the benefit of either discovery or a hearing, even
 8
     though § 2255 requires a hearing unless the record conclusively shows Mr. Bernard’s
 9
     allegation to be baseless. In short, this Court has turned the standard on its head, and that is
10
     error. A full and fair hearing is required. See United States v. Posada-Rios, 158 F.3d 832,
11
     877 (5th Cir. 1998) (“the remedy for allegations of juror partiality is a hearing in which the
12
     defendant has the opportunity to prove actual bias,” quoting Smith v. Phillips, 455 U.S.
13
     209, 215 (1982)).
14
                                                IV. Conclusion
15
               The Court should alter and amend its judgment to grant relief from Mr. Bernard’s
16
     convictions and sentences. Alternatively, the Court should authorize discovery as
17
     requested by Mr. Bernard [Dkt. nos. 408 (motion for leave to interview jurors), 411
18
     (motion for other discovery), 412 (appendix to discovery motion)], and set an evidentiary
19
     hearing when discovery is complete.
20
     //
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26
                                                                                     ROBERT C. OWEN
                                                                                      SCHOOL OF LAW
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 1

 2
             DATED this 25th day of October, 2012.
 3
                                                     Respectfully submitted,
 4

 5                                                   /s Robert C. Owen
                                                     Robert C. Owen, Texas Bar No.: 15371950
 6                                                   Capital Punishment Clinic, School of Law
                                                     727 East Dean Keeton Street
 7                                                   Austin, TX 78705-3224
                                                     Phone: (512) 232-9391 / Fax: (512) 232-9171
 8                                                   Email: robowen@gmail.com
 9

10                                                   /s John R. Carpenter2
                                                     John R. Carpenter, WA State Bar No.: 23301
11                                                   Federal Public Defender’s Office
                                                     1331 Broadway, Suite 400
12                                                   Tacoma, WA 98402
                                                     Phone: (253) 593-6710 / Fax: (253) 593-6714
13                                                   Email: John_Carpenter@fd.org
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              The application of John R. Carpenter for admission to practice before the United States
26   District Court for the Western District of Texas is pending.
                                                                                       ROBERT C. OWEN
                                                                                        SCHOOL OF LAW
     MEMORANDUM OF LAW IN SUPPORT OF                                      THE UNIV. OF TEXAS AT AUSTIN
     MOTION TO ALTER OR AMEND JUDGMENT               – 12                     727 EAST DEAN KEETON ST.
                                                                                    AUSTIN, TX 78705-3224
     Brandon Bernard v. United States; W-04-CV-164                                          (512) 232-9391
